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EXHIBIT D
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I am a devout Christian and have dedicated my life to God. Everything I do on the soccer field is
because of God. He has given me talent and a gift and by playing soccer, I am glorifying Him by
using the gift he has given me. God knew me before he created me, therefore I have complete
confidence that I am a child of the Living God. "For you created my inmost being; you knit me
together in my mothers womb," Psalm 139:13. God also created us in his own image, "so God
created us in his own image, in the image of God he created him; male and female he created
them," Genesis 1:27. Therefore, I trust that God loves me, guides me, and will protect me. I trust
the Lord with my life and He is calling me in this way to not go against my conscience. Timothy
1:5 states, “The purpose of my instruction is that all believers would be filled with love that
comes from a pure heart, a clear conscience, and genuine faith.” I trust that God is paving me
this path to not get the Covid-19 vaccine. “Trust in the LORD with all your heart; do not depend
on your own understanding. Seek his will in all you do, and he will show you which path to
take,” Proverbs 3:5-6. There are numerous quotes in the Bible that I could list. All will pertain to
God loving me, protecting me, saving me, and sending angels around me and guide me. As a
Christian, I trust God with my health, life, body, and soul. My body is a temple of the living
God, I am commanded to do whatever I do of faith, otherwise it is a sin, and I know that
ultimately, my God is my healer and my sustainer in this life. For these spiritual/religious
convictions, I am lead to this point where I must respectfully decline receiving any Covid-19
vaccination, and I humbly request you grant my religious exemptions accordingly.
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